        Case 1:21-mj-00339-GMH Document 1-1 Filed 03/30/21 Page 1 of 11




                                      STATEMENT OF FACTS

       1.      On Wednesday April 29, 2020, members of the Federal Bureau of Investigation

(FBI) Washington Field Office (WFO) and Metropolitan Police Department of the District of

Columbia (MPDC) Child Exploitation and Human Trafficking Task Force (CEHTTF) received

information from an FBI agent assigned to the Baltimore Field Office (BFO) in Maryland. The

agent informed your affiant that an individual (hereinafter “Witness #1”) contacted the Prince

George’s County Police Department to report information related to the sexual abuse of a nine-

year-old child (hereinafter “Minor Victim #1”). The members responded to a Prince George’s

County Police Department (PGCPD) Station and interviewed Witness #1.

       2.      Witness #1 stated that a relative of his (hereinafter “Witness #2”) had been involved

in a romantic relationship with an adult female (hereinafter “DEFENDANT #1”) for the last

month. Witness #1 reported that Witness #2 met DEFENDANT #1 via the internet. Witness #1

stated that Witness #2 informed him that DEFENDANT #1 sent him sexually explicit images

depicting Minor Victim #1.

       3.      Witness #2 was interviewed by members of the CEHTTF during the course of this

investigation. Witness #2 advised that DEFENDANT #1 had spoken to him about the sexual abuse

of Minor Victim #1, and reported that other individuals had also sexually abused the child.

       4.      Through further investigation by law enforcement, a search warrant (20-SW-115)

was obtained from the United States District Court (USDC) for the District of Columbia,

authorizing the search of DEFENDANT #1’s residence. The USDC search warrant was executed

during the early morning hours of April 30, 2020, and Minor Victim #1 was recovered safely from




                                                 1
        Case 1:21-mj-00339-GMH Document 1-1 Filed 03/30/21 Page 2 of 11




the residence. DEFENDANT #1 was also inside the residence, and she was arrested.1 Electronic

devices were recovered from the residence, including DEFENDANT #1’s cellular phone.

       5.      DEFENDANT #1’s cellular device was turned over to a United States Attorney’s

Office (USAO) Digital Forensic Examiner on April 30, 2020. The USAO Digital Forensic

Examiner conducted a forensic extraction of the device. Your Affiant reviewed the contents of

DEFENDANT #1’s device and located numerous videos and images depicting the sexual abuse of

children. Your Affiant found that the videos and images had also been uploaded to a Dropbox

account belonging to DEFENDANT #1.

       6.      A review of the contents of DEFENDANT #1’s Dropbox account revealed four

videos of Minor Victim #1 being abused by two different adult men. One of the videos shows an

African American male placing his tongue on Minor Victim #1’s bare vulva. The man’s face is

not visible in the video, but the viewer can see that he has a salt-and-pepper patchy beard, which

connects to the hairline of his head. He also has salt-and-pepper colored hair, and is shown wearing

a black stud style earring.        The video is thirty-eight seconds long, and is labeled

VID_20191014_230548. The naming convention for this video indicates that the video was

uploaded to Dropbox on October 14, 2019. As discussed below, the individual in the video was

later identified as Christopher Ham (“HAM”).

       7.      As background regarding DEFEDNANT #1, law enforcement has interviewed

DEFENDANT #1 with her attorney present on three occasions. During the first interview,

members of the CEHTTF showed DEFENDANT #1 photographs of adult men who were linked

to DEFENDANT #1 during the course of this investigation and who have displayed a sexual



1
 DEFENDANT #1 has been charged with the Sexual Exploitation of Children, in violation of 18
U.S.C. §2251(a) and the Distribution of Child Pornography, in violation of 18 U.S.C.
§2252(a)(2). These charges are pending, and DEFENDANT #1 is detained pending trial.
                                                 2
        Case 1:21-mj-00339-GMH Document 1-1 Filed 03/30/21 Page 3 of 11




interest in children.   DEFENDANT #1 was shown a photograph of an individual, referred to

hereinafter as TARGET #1, and she was asked if she recognized him. DEFENDANT #1 denied

recognizing TARGET #1’s photograph during the first interview. During the second interview,

DEFENDANT #1 was again shown a photograph of TARGET #1, and she was again asked if she

recognized the individual in the picture. DEFENDANT #1 admitted that she did, in fact, recognize

the person in the photograph and she provided law enforcement with his name. DEFENDANT #1

admitted that TARGET #1 had visited her home on several occasions, and that he had played with

Minor Victim #1. Law enforcement told DEFENDANT #1 that they had the KIK messages that

she exchanged with TARGET #1, and a picture which DEFENDANT #1 sent to TARGET #1,

which was a sexually explicit image depicting DEFENDANT #1 holding Minor Victim #1.

DEFENDANT #1 identified the photograph, and confirmed that she is the adult female depicted

in this image, with Minor Victim #1 sitting on her lap. After initially attempting to explain that

this sexual encounter occurred accidentally, DEFENDANT #1 admitted that TARGET #1 had

expressed a sexual interest in children, and a desire to engage in sex acts with a child.

DEFENDANT #1 stated that TARGET #1 had come to her home in 2018 to engage in sex acts

with her. While engaging in sexual activity, DEFENDANT #1 and TARGET #1 decided to

involve Minor Victim #1 in the sexual activity. According to DEFENDANT #1, she engaged in

sexual intercourse with TARGET #1 with Minor Victim #1 in the room. TARGET #1 ejaculated

onto Minor Victim #1, while DEFENDANT #1 held the child on her lap. DEFENDANT #1’s

description of the events inside her home match what is depicted in a photograph law enforcement

has in its possession. TARGET #1 was subsequently arrested and charged with the Sexual

Exploitation of Children, and other related charges. When interviewed by law enforcement,

following his arrest, TARGET #1 admitted that he knew DEFENDANT #1 and that he had been



                                                3
          Case 1:21-mj-00339-GMH Document 1-1 Filed 03/30/21 Page 4 of 11




to her home on more than one occasion. He also admitted that he knew that she had access to a

child, and that he had met this child. Furthermore, TARGET #1 admitted to using the KIK accounts

that TARGET #1 and DEFENDANT #1 used to discuss engaging in sexual acts, including acts

involving Minor Victim #1. Forensic analysis of the digital devices collected from TARGET #1

corroborated statements made by both DEFENDANT #1 and TARGET #1. When TARGET #1

was specifically asked if he had ever engaged in the sexual abuse of the minor identified in images

sent to him by DEFENDANT #1, the Defendant asked for a lawyer.2

         8.     Also during the second interview with law enforcement, DEFENDANT #1 was

shown a redacted image of an adult man who can be seen sexually abusing Minor Victim #1 in

three separate videos found in DEFENDANT #1’s Dropbox Account. DEFENDANT #1

reported that she knew this adult man, hereinafter TARGET #2, and she provided law

enforcement with his nickname. DEFENDANT #1 accurately described the way TARGET #2

would be listed in the contacts section of her cellular telephone; the town that he lived in; and

correctly identified the make and model of the car TARGET #2 was driving at the time he

sexually abused Minor Victim #1. During the third interview, DEFENDANT #1 provided law

enforcement with details regarding the sexual activity that she and TARGET #2 engaged in with

Minor Victim #1, and she admitted to using her cellular telephone to record the abuse.

DEFENDANT #1’s description of the sexual activity that she and TARGET #2 engaged in with

Minor Victim #1 is consistent with what is depicted in three videos in law enforcement’s

possession that were found in DEFENDANT #1’s Dropbox Account. TARGET #2 was arrested

and charged with the Sexual Exploitation of Children, and other related charges. During an

interview with law enforcement, TARGET #2 admitted that he knew DEFENDANT #1 and that



2
    TARGET #1 is deceased. The Criminal Complaint was dismissed as a result of his death.
                                                 4
        Case 1:21-mj-00339-GMH Document 1-1 Filed 03/30/21 Page 5 of 11




he engaged in a sexual relationship with her. He further admitted that, on one occasion when he

was engaging in sexual activity with DEFENDANT #1, he sexually abused Minor Victim #1

while DEFENDANT #1 filmed the abuse. TARGET #2 admitted that he had seen the videos

depicting the sexual abuse of Minor Victim #1 that law enforcement has in its possession.3

       9.     Turning to the video of HAM, during the second interview, DEFENDANT #1 was

also shown screenshots of the video labeled VID_20191014_230548, described above.

DEFENDANT #1 stated that she recognized the man in the video, and that she knew him as Chris

Ham. That was the first time DEFENDANT #1 had been shown that video or any image containing

HAM.

       10.    DEFENDANT #1 further stated that she initially met HAM via the internet, but

that she later met him in person. DEFENDANT #1 said that HAM came to her home in

Washington, D.C. on more than one occasion, and that she knew that HAM lived in Maryland.

DEFENDANT #1 stated during one visit to her home, HAM expressed a sexual interest in children

and that he liked to watch Minor Victim #1 sleep DEFENDANT #1 admitted that, on a subsequent

occasion when HAM was inside her home, he sexually abused Minor Victim #1. DEFENDANT

#1 stated that HAM put his mouth on Minor Victim #1’s vagina. DEFENDANT #1 admitted that

she used her cellular telephone to video record HAM sexually abusing Minor Victim #1.

DEFENDANT #1 said that she later sent this video to HAM. DEFENDANT #1 believed that this

assault occurred in February 2020.4

       11.    DEFENDANT #1 said that she communicated with HAM via Facebook

Messenger. DEFENDANT #1 stated that she put the video in a Dropbox link, and then sent that



3
 TARGET #2 remains in custody. He has been ordered detained pending trial.
4
 Based upon the date that this video appears to be uploaded to Dropbox, October 14, 2019,
DEFENDANT #1’s recollection of the date and time this incident appears to be incorrect.
                                               5
        Case 1:21-mj-00339-GMH Document 1-1 Filed 03/30/21 Page 6 of 11




link to HAM via Facebook Messenger. Based upon my training and experience, when a user sends

a Dropbox link via Facebook Messenger, the recipient will receive a Facebook message containing

the Dropbox link which can then be used to access the specific material from the original sender’s

Dropbox account. The recipient would not receive an independent message through Dropbox, nor

would the recipient have to establish his or her own Dropbox account to access the link. Based on

my training and experience, Dropbox does not maintain records, or the IP address or other

information of individuals that click on a Dropbox link. As a result, the search warrants results

from DEFENDANT #1’s Dropbox, which does contain the video in question, has no information

about who, if anyone, may have accessed that video via a link.

       12.       DEFENDANT #1 said that HAM’s contact information was in her cellular phone

and in her Facebook account. DEFENDANT #1 said that he used the name Chris Ham on

Facebook and that was how he was listed in her cellular phone’s contact list.

       13.       Your Affiant reviewed DEFENDANT #1’s Facebook account, and the contents of

her cellular telephone, in order to locate identifying information about HAM. Your Affiant located

a Facebook account, that was “friends” with DEFENDANT #1, named “CHRISFAHEEMHAM”

(the account).

       14.       An administrative subpoena was issued by a member of CEHTTF to Facebook for

subscriber information and internet protocol (IP) addresses associated with the account. Facebook

provided information indicating that the account is registered to a person using the name of “C

TheAwakener Ham” with the phone number 301-                      -4802.   The email addresses

alphaman95@yahoo.com and cfham@facebook.com were also associated with the account.

       15.       Your affiant also reviewed the contents of DEFENDANT #1’s Facebook accounts,

which were obtained pursuant to a search warrant, in an effort to locate Facebook messages



                                                6
        Case 1:21-mj-00339-GMH Document 1-1 Filed 03/30/21 Page 7 of 11




exchanged between DEFENDANT #1 and HAM.                Your affiant located messages between

DEFENDANT #1, using the Facebook account Deee (DEFENDANT #1’s last name), and HAM

exchanged between August 25, 2018 and April 15, 2019. These messages do not appear to contain

references to the sexual abuse of Minor Victim #1. However, on April 15, 2019, HAM sent

DEFENDANT #1 the following message:

       “Peace! Just dropping by and seeing how you and the little One
       have been doing. I pray all is well with you two.”

       16.    Your affiant also located messages exchanged between DEFENDANT #1, using

the Facebook account Deej (DEFENDANT #1’s last name), and HAM between March 20, 2020

and March 25, 2020. Your affiant reviewed these messages and observed that DEFENDANT #1

and HAM exchanged sexually explicit pictures of themselves. Your affiant also noticed that HAM

and DEFENDANT #1 exchanged the following messages on April 6, 2020,

       HAM: How cheeks been?5
       DEFENDANT #1: At daycare
       HAM: [sends thumps up emoji]…Any new sexual adventures lately
       DEFENDANT #1: No
       HAM: Aight


       17.    Your affiant obtained a search warrant for the contents of HAM’s Facebook

account; the information provided by Facebook pursuant to that search warrant did not include any

messages exchanged between HAM and Defendant #1.         Despite the lack of Facebook Messages

recovered between HAM and DEFENDANT #1 from HAM’s account, HAM was Facebook

friends with both of DEFENDANT #1’s Facebook accounts. He had also liked, viewed, and/or

searched for DEFENDANT #1’s Facebook accounts on several occasions. Furthermore, a review




5
 Your Affiant has learned, through the course of this investigation, that “Cheeks” is a nickname
used by Minor Victim #1.
                                                7
        Case 1:21-mj-00339-GMH Document 1-1 Filed 03/30/21 Page 8 of 11




of the images and videos posted to HAM’s Facebook account show some images of HAM

wearing a black, stud-style earring which looks similar to the earring depicted in the video

described above.

       18.    The messages exchanged between HAM and DEFEDNANT #1 via Facebook

Messenger were recovered only from DEFENDANT #1’s account, and were not provided in

response to the search warrant executed on HAM’s account. The message that DEFEDNANT #1

stated that she sent to HAM with the Drobox link was not recovered from either account. Based

upon my training and experience, when a user deletes a Facebook Message, that message is

permanently deleted from Facebook servers. Thus, unless the account is preserved prior to the

deletion, Facebook does not have the deleted messages to provide in response to a search warrant.

       19.    Your affiant also located a contact in DEFENDANT #1’s phone with the name

“Chris Faheem Ham.” The contact listed the phone number 301-          -4802 and the address

                       Largo, Maryland 20774. The investigation, through surveillance by law

enforcement and other methods, has revealed that HAM resides at this address.

       20.    An administrative subpoena was issued to AT&T for subscriber information and

call detail records (CDR) for the phone number linked to HAM. Records provided by AT&T

show that the phone number is registered to Christopher Ham, with the listed mailing address at

P.O. Box       in Capitol Heights, Maryland.

       21.    Your affiant contacted a United States Postal Service Inspector (USPS) in reference

to P.O. Box        in Capitol Heights, Maryland. Your affiant was advised that the P.O. Box had

been registered to HAM from November 20, 2015 until December 7, 2020. The phone number

301-    -4802 and a Maryland Drivers License (#H500115497640) was provided for the P.O. Box

by HAM. The USPS Inspector advised that HAM had provided a change of address to the USPS



                                               8
          Case 1:21-mj-00339-GMH Document 1-1 Filed 03/30/21 Page 9 of 11




after the P.O. Box was closed on December 7, 2020, which indicated that HAM wanted to receive

mail at                               in Upper Marlboro, Maryland 20774.

          22.   Your affiant reviewed the CDR data provided for the phone number linked to HAM

and observed that HAM’s phone number contacted a phone number belonging to DEFENDANT

#1 over five hundred times. These phone contacts began on November 5, 2018, and continued

through June 20, 2020, even after DEFENDANT #1’s phone had been seized by law enforcement.

          23.   On February 10, 2021, your affiant conducted surveillance at

      in Largo, Maryland, HAM’S residence. Your affiant observed a silver Toyota sedan parked

directly in front of the staircase at 241 Harry S. Truman Drive. The vehicle had a Maryland

registration “3AN0178,” and is registered to HAM at his residence. Your affiant observed an

African-American male exit the apartment building and walk to the trash bin located in the parking

lot in front of the apartment building. Your affiant was able to clearly observe this individual and

saw that he appeared to have the same patchy salt-and-pepper beard and hair, and his hairline

appears to be the same as the individual who is depicted sexually abusing Minor Victim #1 in the

video recovered from DEFENDANT #1’s Dropbox labeled “VID_20191014_230548.”

          24.   On February 12, 2021, members of CEHTTF interviewed DEFENDANT #1 with

her attorney present. DEFENDANT #1 was asked additional questions about her relationship with

HAM. DEFENDANT #1 stated that she has known HAM for approximately six years, and that

they met online. DEFENDANT #1 said that this relationship turned sexual a few years after the

two of them met. DEFENDANT #1 described that HAM has an “urge” related to a sexual interest

in children. DEFENDANT #1 said that this was first brought to her attention when they were

engaging in sexual acts at her home, in Washington, D.C., and HAM told her that he was thinking

about Minor Victim #1 when they had sex. DEFENDANT #1 explained that following this



                                                 9
       Case 1:21-mj-00339-GMH Document 1-1 Filed 03/30/21 Page 10 of 11




conversation, when HAM came to the house, they sometimes had sex with Minor Victim #1 in the

room because HAM liked to look at Minor Victim #1 while he was having sex with DEFENDANT

#1. HAM said it excited him. DEFENDANT #1 admitted that on one of HAM’s visits to her

house, following the initial conversation where he expressed a sexual interest in Minor Victim #1,

she recorded a video of HAM placing his mouth on Minor Victim #1’s vagina.

       25.      DEFENDANT #1 said that she was under the influence of alcohol at the time, but

she believes the recording took place in the living room of her home on Naylor Road in

Washington, D.C. DEFENDANT #1 advised that she did not think HAM knew she was recording

him, but she admitted that she sent the video to HAM via a Dropbox link and using Facebook

Messenger.

       26.      DEFENDANT #1 was shown a color photograph of HAM and asked if she

recognized the individual in the photograph. DEFENDANT #1 viewed the photograph and stated,

“That’s Ham.”




                                               10
       Case 1:21-mj-00339-GMH Document 1-1 Filed 03/30/21 Page 11 of 11




                                     CONCLUSION

           Based on the above information, there is probable cause to believe that Christopher

Ham committed the following offenses: Travel with Intent to Engage in Illicit Sexual Conduct,

in violation of Title 18 U.S.C. §2423(b), on or about and between January 1, 2018 and October

14, 2019; and First Degree Child Sexual Abuse with Aggravating Circumstances, in violation of

D.C. Code §§ 22-3008, 3020(a)(1), 3020(a)(4), on or about and between January 1, 2018 and

October 14, 2019.

                                                    Respectfully submitted,



                                                    _________________________________
                                                    Thomas Sullivan
                                                    Detective
                                                    MPD

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 30th day of March 2021.
                                                                         Digitally signed by G. Michael Harvey
                                                                         Date: 2021.03.30 14:03:27 -04'00'


                                                    ___________________________________
                                                    G. MICHAEL HARVEY,
                                                    U.S. MAGISTRATE JUDGE




                                               11
